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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

UNITED STATES OF AMERICA,                      }
               Plaintiff-Respondent            }
                                               }
v.                                             }       CRIMINAL ACTION NO. H-95-142-20
                                               }       CIVIL ACTION NO. H-03-3879
ZARAGOSA SANDOVAL,                             }
               Defendant-Petitioner            }


                                 MEMORANDUM AND ORDER

       Presently before the Court are Petitioner Zaragosa Sandoval’s Motion to Vacate, Set Aside

or Correct Sentence pursuant to 28 U.S.C. § 2255 (Doc. 5197); the Government’s response and

motion to dismiss (Doc. 5225); Petitioner’s motion for leave to amend (Doc.5425); the Magistrate

Judge’s Memorandum and Recommendation (Doc. 5494); and Petitioner’s objections to the

Magistrate Judge’s Memorandum and Recommendation (Doc. 5512).

       Petitioner’s first objects to the Magistrate Judge’s recommendation that his motion be

dismissed as untimely. Petitioner argues that the court should equitably toll Section 2255's one-year

statute of limitations because he relied on his attorney’s mistaken representation that his motion

would be timely if filed by 18 September 2003. The Fifth Circuit has repeatedly instructed its

district courts that “counsel's erroneous interpretation of the statute of limitations provision cannot,

by itself, excuse the failure to file [petitioner's] habeas petition in the district court within the

one-year limitations period." United States v. Riggs, 314 F.3d 796, 799 (5th Cir. 2002) (quoting

Fierro v. Cockrell, 294 F.3d 674, 679 (5th Cir. 2002)). Petitioner’s first objection is therefore

overruled.
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       Petitioner also objects to the Magistrate Judge’s recommendation that Petitioner’s motion

to amend by denied. Because the court has already determined that Petitioner’s Section 2255 motion

should be dismissed as untimely, this issue is moot.

       Therefore, after carefully considering the record and the applicable law, the Court concludes

that Petitioner’s Motion to Vacate, Set Aside or Correct Sentence pursuant to 28 U.S.C. § 2255

should be DENIED as time-barred and the Government’s motion to dismiss should be GRANTED.

The Court adopts the Magistrate Judge’s Memorandum and Recommendation in full.



       SIGNED at Houston, Texas, this 10th day of October, 2006.



                                             ______________________________________
                                                      MELINDA HARMON
                                               UNITED STATES DISTRICT JUDGE




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